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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

 SECURITIES AND EXCHANGE COMMISSION,                §
                                                    §
           Plaintiff,                               §
                                                    §         Case No.: 18-cv-2844-RDB
 v.                                                 §
                                                    §
 KEVIN B. MERRILL, ET AL.,                          §
                                                    §
           Defendants.                              §




                            RECEIVER’S MOTION FOR APPROVAL OF
                       FIRST INTERIM FEE APPLICATION OF BDO USA, LLP



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         Gregory S. Milligan, the Court-appointed Receiver in this action (the “Receiver”), seeks

the Court’s approval to pay interim fees and expenses of $70,740.33 (the “First Fee Application”)

to BDO USA, LLP (“BDO”), pursuant to the First Amended Order Appointing Temporary

Receiver (“Receivership Order”) (Dkt. No. 62) and the Billing Instructions for Receivers in Civil

Actions Commenced by the U.S. Securities and Exchange Commission (“Billing Instructions”),

for professional services rendered on behalf of the Receivership Estate between August 26, 2019

and May 31, 2020 (the “Applicable Period”). Pursuant to Local Rule 105(2)(a) of the United

States District Court for the District of Maryland, all oppositions to this First Fee Application must

be filed within fourteen (14) days of the service of this motion, on or before October 5, 2020.

The tasks and challenges presented by this large Receivership are numerous, complex, and

difficult. To complete the court-ordered tasks and overcome these challenges, the Receiver and

BDO worked long hours to enable the Receiver to carry out his fundamental duty of implementing

this Court’s Orders, which included the preparation and filing of tax returns for the non-individual

Receivership Parties 1 and the Receivership Estate. See Dkt. No. 62 at ¶¶ 1, 2, 6, & 8.

         The Receiver has had to discharge his duties with very little assistance from the individual

Defendants, who may be the only people with full knowledge of the assets and records of the

Receivership Parties. The Receiver and BDO have had to reconstruct, to the extent possible, the

financial records of the non-individual Receivership Parties in order to ascertain their income,

assets, and expenses for purposes of preparing and filing federal and state income tax returns for

periods before and after entry of the Receivership Order.




1
  Pursuant to paragraph 42 of the Receivership Order, the Receiver did not retain and employ BDO
to prepare tax returns for individual Defendants Kevin B. Merrill (“Merrill”), Jay B. Ledford
(“Ledford”), and Cameron Jezierski (“Jezierski”).

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         The work of the professionals is described in detail in the attached invoices, which the

Receiver submits in support of this First Fee Application as Exhibit A. The information contained

in the exhibit demonstrates the necessity for the professionals’ services and the reasonableness of

their fees and expenses for a case of this complexity and difficulty.

                                     I.      BACKGROUND

         On September 13, 2018, the SEC filed this case and thousands of pages of evidence,

alleging that Defendants engaged in a $345 million fraudulent scheme involving as many as 230

investors. See Dkt. Nos. 1, 3. This Court found that it was both necessary and appropriate to

appoint a receiver and assumed exclusive jurisdiction over all assets and records of the Defendants

and certain entities affiliated with Defendants. See Dkt. No. 62 at ¶ 1. The Receivership Order

charged the Receiver with responsibility for acquiring control and possession of the Receivership

Estate, and performing all acts necessary to conserve, manage, and preserve the Receivership

Estate. See Dkt. No. 62 at ¶ 8.B.

         As a result, the Receiver immediately was placed in charge of the assets of the Receivership

Parties, which, at the time of appointment, consisted of three (3) individuals and thirty-one (31)

named entities. See Dkt. No. 62 at ¶ 1. On the date the Receivership Order was unsealed, the

Receivership Estate included four ongoing business operations in Texas: (i) DeVille Asset

Management Ltd. (“DeVille”); (ii) Riverwalk Credit Repair, Inc. (“Riverwalk Credit”); (iii)

Riverwalk Debt Solutions, Inc. (“Riverwalk Debt”); and (iv) Ledford & Associates, PLLC. In

addition, numerous assets were owned or held in the name of non-individual Receivership Parties,

most of which have been liquidated during the pendency of this receivership.

         In furtherance of the Receiver’s duties under the Receivership Order, the Receiver sought

authority for and retained BDO to: (i) advise the Receiver on the tax liability of the Receivership

Estate and the non-individual Receivership Parties; (ii) prepare and file state and federal tax returns

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on behalf of the Receivership Estate and the non-individual Receivership Parties; (iii) advise the

Receiver on obtaining and maintaining the status of a taxable “Settlement Fund” within the

meaning of Section 468B of the Internal Revenue Code for Receivership Funds; and (iv) advise

the Receiver on other tax matters related to the administration of the Receivership Estate. See Dkt.

Nos. 198 & 201.

          Pursuant to the Billing Instructions, BDO charged the following hourly rates for its

professionals working on this matter and recorded the following hours during the Applicable

Period:

          Professional                        Title                  Rate           Hours

          Laura Holmes                        Director               $782.00           0.30
          Brad Goonan                         Partner                $762.00           2.50
          Jessica Beedle                      Manager                $562.00          15.00
          James Montgomery                    Manager                $427.00          15.70
          Nicholas Hiatt                      Senior Associate       $312.00          24.75
          Bret Nesbitt                        Senior Associate       $312.00          63.00
          Mandy Tang                          Associate              $237.00          50.70
          Connor Arnold                       Associate              $237.00           7.75
          David Babatope                      Associate              $237.00          39.25

In total during the Applicable Period, BDO billed 218.95 hours for its services to the Receivership

Estate at an average hourly rate of $308.64, for a total of $67,806.40. In addition, BDO incurred

expenses in the amount of $2,933.93 during the Applicable Period. This is the first interim fee

application submitted by BDO for its fees and expenses in this matter.

A.        This Receivership is large and complex.

          This matter involves the operation of an alleged Ponzi scheme by Defendants Merrill,

Ledford, and Jezierski that fraudulently raised more than $345 million from over 230 investors to

purportedly invest in consumer debt portfolios. See Dkt. No. 50 at ¶ 1. Additional information

about case background, the procedural history of the case, and other efforts of the Receiver can be

found in the six (6) quarterly status reports filed with the Court and posted to the Receivership

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Estate website at https://merrill-ledford.com/case-updates/, which are incorporated herein by

reference.

B.       BDO’s fees are necessary for the Receiver’s successful management of the
         Receivership Estate for the benefit of all claimants.

         Despite numerous obstacles, the Receiver has continued to make significant progress, part

of which would not be possible without BDO’s work. In order to carry out his duties under the

Receivership Order, the Receiver required the assistance of tax professionals to review and update

the financial records of the Receivership Parties in order to file federal and state income tax returns

for the Receivership Estate and non-individual Receivership Parties. The tasks performed by BDO

were complicated by the Defendants’ falsification of financial records and failure to properly

account for income and expenses of the various Receivership Parties. It was necessary for BDO

and the Receiver to review and reconcile the Receivership Parties’ financial records to accurately

report information in the Receivership Parties’ tax returns.

         During the Applicable Period, the Receiver continued to account for the Receivership

Assets by, among other things, providing timely Standardized Fund Accounting Reports to the

parties in this case. Attached hereto as Exhibit B is the most recent Standardized Fund Accounting

Report for the period end June 30, 2020 that was filed with the Receiver’s Seventh Quarterly Status

Report on July 30, 2020. See Dkt. No. 326.

         Pursuant to the Receivership Order, the Receiver requests that the Court approve this First

Fee Application and enter an order approving, on an interim basis, the professional fees and

expenses of BDO for the Applicable Period.

        II.      REQUEST FOR APPROVAL OF FEES BETWEEN AUGUST 26, 2019
                                AND MAY 31, 2020

         The Receivership Order directs and authorizes the Receiver to retain and compensate

professionals in connection with the administration of the Receivership Estate:

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         The Receiver may choose, engage and employ attorneys, accountants, appraisers,
         and any other independent contractors and technical specialists, including, but not
         limited to, securities traders, registered representatives, financial or business
         advisers, liquidating agents, real estate agents, forensic experts, property managers,
         brokers, traders, and auctioneers (collectively, “Retained Personnel”) as the
         Receiver deems advisable or necessary in the performance of the Receiver's duties
         and responsibilities under the authority granted by this Order.

Dkt. No. 62 at ¶ 49. Accordingly, the Receiver hired BDO to assist the Receiver to carry out his

duties under the Receivership Order. See Dkt. Nos. 198 & 201. BDO has been working diligently

to prepare pre- and post-receivership tax returns for the non-individual Receivership Parties and

the Receivership Estate.

         The Receivership Order directs that “[t]hroughout the pendency of the receivership, the

Receiver and Retained Personnel shall apply to the Court for compensation and expense

reimbursement from the Receivership Estate.” Dkt. No. 62 at ¶ 65. Accordingly, the Receiver

files this Motion and requests that the Court approve the fees and expenses billed by the BDO for

work during the Applicable Period.

A.       The Court should approve the payment of all reasonable and necessary professional
         fees and expenses.

         The Receiver’s compensation and the fees and expenses of the Receiver’s professionals

may be determined at the Court’s discretion and, in making those determinations, the Court should

consider the complexity of the problem faced, the benefit of the services to the Receivership Estate,

the quality of the work performed, and the time records presented. SEC v. Fifth Ave. Coach Lines,

Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973); see also SEC v. Elliott, 953 F.2d 1560, 1577 (11th

Cir. 1992). While guidelines and standards for assessing compensation are set forth in case law,

the unique facts and situations of each case make it impossible to rely directly on those guidelines

alone. SEC v. W.L. Moody & Co., 374 F. Supp. 465 (S.D. Tex. 1974), aff’d, 519 F.2d 1087 (5th

Cir. 1975).


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B.       The fees and expenses are reasonable and necessary in light of the extraordinary
         complexity and difficulties of this case.

         The Receiver requests approval of fees and expenses for BDO, as summarized below, in

the amounts noted (which reflect billings for work during the Applicable Period). The time spent,

services performed, hourly rates charged, and expenses incurred were reasonable and necessary,

and indeed essential, for the Receiver to perform his Court-ordered duties. BDO was selected

because it possesses special expertise required to fulfill the Court’s orders. See Johnson v. Georgia

Highway Express, Inc., 488 F.2d 714, 718 (5th Cir. 1974).

         In the instant case, BDO has provided essential tax expertise and manpower related to the

unique issues presented in this receivership. The professionals working on this case during the

Applicable Period have included senior directors, partners, and managers with decades of

experience, as well as senior and junior associates, as appropriate to the specific tasks at hand. See

Johnson, 488 F.2d at 718-19 (compensation often reflects degree of experience). The following

tasks were performed by the Receiver’s professionals and were necessary and essential to the work

of the Receiver.

         During the Applicable Period, BDO prepared and filed the 2018 and 2019 federal tax

returns for the Receivership Estate. BDO also prepared and filed the 2018 federal income tax

return for Riverwalk Financial Corporation (“Riverwalk”) and its subsidiaries, Riverwalk Credit

and Riverwalk Debt. BDO also prepared and filed 2018 state income and franchise tax returns for

Riverwalk in Texas, Tennessee, South Carolina, Oklahoma, Illinois, Georgia, Florida, Colorado,

California, and Alabama. BDO also prepared and filed 2019 state income and franchise tax returns

for Riverwalk and DeVille Asset Management Ltd. (“DeVille”) in Texas, Tennessee, South

Carolina, Oklahoma, Illinois, Georgia, Florida, Colorado, California, and Alabama. By correcting




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prior accounting entries and the use of available net operating losses, no taxes were due on the

federal returns and the total tax due on the state returns was less than $2,000.00.

         A bill for BDO’s services and expenses for the Applicable Period is attached hereto as

Exhibit A. The Receiver represents that (i) the fees and expenses included herein were incurred

in the best interest of the Receivership Estate, and (ii) with the exception of the Billing Instructions,

the Receiver has not entered into an agreement, written or oral, express or implied, with any person

or entity concerning the amount of compensation paid or to be paid from the Receivership Estate,

or any share thereof. The Receiver requests approval of payment to BDO for $67,806.40 in

professional fees and $2,933.93 in expenses for a total of $70,740.33 incurred during the

Applicable Period.

                                       III.    CONCLUSION

         The relief requested herein is necessary and appropriate to carry out the provisions of the

Receivership Order. Accordingly, the Receiver requests that the Court enter an order approving

of the fees and expenses incurred between August 26, 2019 and May 31, 2020 and authorizing the

Receiver to compensate BDO from the Receivership Estate.


                                                Respectfully Submitted,


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                                      Counsel for Receiver Gregory S. Milligan




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                               CERTIFICATE OF CONFERENCE

        Counsel for the Receiver provided a copy of this proposed First Interim Fee Application
for BDO to counsel for the SEC on July 28, 2020. Counsel for the SEC has reviewed and approved
this First Interim Fee Application for BDO.


                                               /s/ Lynn H. Butler
                                               Lynn H. Butler


                                 CERTIFICATE OF APPLICANT

       Undersigned tax professional for the Receiver hereby certifies as follows with respect to
the Receiver’s Motion for Approval of First Interim Fee Application of BDO USA, LLP
(“Application”):

                   (a)   I have the read the Application.

                (b)    To the best of my knowledge, information and belief formed after
         reasonable inquiry, the Application and all fees and expenses therein are true and accurate
         and comply with the Billing Instructions.

               (c)    All fees contained in the Application are based on the rates listed in BDO
         USA, LLP’s fee schedule contained herein and such fees are reasonable, necessary and
         commensurate with the skill and experience required for the activity performed.

                (d)      BDO USA, LLP has not included in the amount for which reimbursement
         is sought the amortization of the cost of any investment, equipment, or capital outlay
         (except to the extent that any such amortization is included within the permitted allowable
         amounts set forth herein for photocopies and facsimile transmission).

                (e)    In seeking reimbursement for a service which BDO USA, LLP justifiably
         purchased or contracted for from a third party (such as copying, imaging, bulk mail,
         messenger service, overnight courier, or computerized research), BDO USA, LLP requests
         reimbursement only for the amount billed to BDO USA, LLP by the third-party vendor and
         paid by BDO USA, LLP to the vendor.



                                                       Brad Goonan




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                                  CERTIFICATE OF SERVICE

        On September 21, 2020, I electronically submitted the foregoing document with the clerk
of the court of the U.S. District Court for the District of Maryland, using the electronic case filing
system of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically through the Court’s CM/ECF filing system for all parties who have registered to
receive electronic service. Additionally, the foregoing document was served on the following
parties not registered for Court’s CM/ECF filing system as indicated below:

         Defendant Kevin B. Merrill (via U.S. Mail):

         Kevin B. Merrill, #64274-037
         FCI Allenwood Low
         Federal Correctional Institution
         P.O. Box 1000
         White Deer, PA 17887

         Defendant Jay B. Ledford (via U.S. Mail):

         Jay B. Ledford, #55055-048
         FCI Safford
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         Criminal Counsel for Defendant Kevin B. Merrill (via E-Mail and U.S. Mail):

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         Criminal Counsel for Defendant Cameron R. Jezierski (via E-Mail and U.S. Mail):

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         Relief Defendant Lalaine Ledford (via U.S. Mail):

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         Dundalk United Methodist Church (U.S. Mail):

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         c/o Edward F. Mathus
         6903 Mornington Road
         Baltimore, Maryland 21222

         Lienholders, Tax Assessors, and Other Interested Parties (U.S. Mail):

         Florida Community Bank, N.A.
         2325 Vanderbilt Beach Road
         Naples, Florida 34109



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         PO Box 2026
         Flint, Michigan 48501-2026

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         3291 Tamiami Trail East
         Naples, Florida 34112

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         Baltimore, Maryland 21201-2395
         Branch Banking and Trust Company,
         A North Carolina Banking Corporation
         PO Box 1290
         Whiteville, North Carolina 28472

         Talbot County, Maryland Finance Office
         Talbot County Courthouse
         11 North Washington Street, Suite 9
         Easton, Maryland 21601

         HSBC Bank USA, National Association, as trustee of
         J.P. Morgan Alternative Loan Trust 2006-A5
         c/o Howard n. Bierman, Trustee
         c/o Select Portfolio Servicing, Inc.
         3815 Southwest Temple
         Salt Lake City, Utah 84115

         Clark County, Nevada Tax Assessor
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         Las Vegas, Nevada 89155

         First Financial Bank, N.A. Southlake
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         Southlake, Texas 76092

         Hunter Kelsey of Texas, LLC
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         Austin, Texas 78759

         Frost Bank, f/k/a The Frost National Bank
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         Amarillo, Texas 79109

         Dallas Central Appraisal District
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         Denton County Tax Assessor
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         Potter County, Texas Tax Assessor
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         Amarillo, Texas 79101



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         P.O. Box 10335
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                                           /s/ Lynn H. Butler
                                           Lynn H. Butler




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